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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 19-61292-CIV-ALTMAN/Hunt

  JEREMY BLUMENAUER,

         Plaintiff,
  v.

  PETLAND, INC. and POOCHES OF
  PINES, INC. d/b/a PETLAND
  PEMBROKE PINES,

        Defendants.
  _____________________________________/

                       ORDER ADMINISTRATIVELY CLOSING CASE

         THIS MATTER comes before the Court upon the parties’ responses to the Court’s

  Order to Show Cause [ECF No. 13].

         The Court is mindful of the Plaintiff’s position that staying this case is unnecessary. At

  the same time, the Court is aware that a nearly-identical putative class action is pending against

  this very same Defendant (Pooches of Pines) before the Honorable Federico A. Moreno

  (numbered 19-cv-61080-FAM). Judge Moreno, of course, has stayed that case pending the

  FCC’s ruling on the definition of an automated telephone dialing system, and the Court is

  concerned that proceeding with this case—especially in light of the identity of the issues between

  the two cases—would unfairly prejudice the interests of the first-filed, putative class pending

  before Judge Moreno.

         Accordingly, the Court hereby

         ORDERS that this case is STAYED. The Clerk of Court shall ADMINISTRATIVELY

  CLOSE this case without prejudice to the substantive rights of any of the parties. The parties

  may move to reopen the case at any time. Any pending motions are DENIED as moot.
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        DONE AND ORDERED in Fort Lauderdale, Florida this 29th day of July 2019.




                                                  _________________________________
                                                  ROY K. ALTMAN
                                                  UNITED STATES DISTRICT JUDGE
  cc:   counsel of record
